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Keith C. Thompson
State Bar No. 24013631
LAW OFFICE OF KEITH C. THOMPSON
11003 Quaker Avenue
Lubbock, Texas 79424
Telephone: 806-783-8322
Facsimile: 806-783-8357
Email: kct@kctlaw.us
COUNSEL FOR SIWELL, INC., D/B/A
CAPITAL MORTGAGE SERVICES OF
TEXAS

                            IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                      LUBBOCK DIVISION


SIWELL, INC., D/B/A CAPITAL MORTGAGE        §
SERVICES OF TEXAS                           §
      PLAINTIFF                             §
                                            §
                                            §
V.                                          §              CASE NO. 5:19-CV-00025
                                            §
WILLIAM BERTHELETTE                         §
AND LAND GORILLA, LLC                       §
      DEFENDANTS                            §


                             PLAINTIFF’S FIRST AMENDED MOTION FOR
                        DEFAULT JUDGMENT AGAINST WILLIAM BERTHELETTE



TO THE HONORABLE JUDGE OF SAID COURT:

         Comes now the Plaintiff, SIWELL, INC. D/B/A CAPITAL MORTGAGE SERVICES OF TEXAS by

and through its attorney, KEITH C. THOMPSON, and moves the Court for an Order of Default against

the named Defendant Berthelette, as he has failed to answer or otherwise defend this suit within

the time allowed by law.




FIRST AMENDED MOTION FOR DEFAULT                                                       PAGE 1 OF 3
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                                    I.       MOTION FOR DEFAULT JUDGMENT

1.       This suit was originally filed in the 99th District Court of Lubbock County, Texas on

September 25, 2018, as Cause No. 2018-532,364; Siwell, Inc. d/b/a Capital Mortgage Services of

Texas, Plaintiff v. William Berthelette, Defendant (the “State Court Petition”).

2.       The Lubbock County case access database indicates that Defendant Berthelette was served

with citation and the State Court Petition on September 29, 2018.1

3.       A thorough review of both the State Court case record and the record of this suit after

removal to this honorable Court show that no answer has been filed by Defendant Berthelette in

accordance with FRCP 12(a) and/or Tex. R. Civ. P. §83.2,3

4.       In November 2018, the State Court Petition was amended to name Land Gorilla, LLC as

another Defendant.

5.       This suit was removed to this Honorable Court soon after.

6.       A federal court takes a case where positive affirmative action of state court left

it. McDonnell v. Wasenmiller, 74 F.2d 320, 1934 U.S. App. LEXIS 3951 (8th Cir. 1934).

7.       When a case is removed to federal court, that court takes it as though everything done in

state court had in fact been done in federal court, but federal court is not bound by any rule of state

practice that is in conflict with federal statute. Savell v. Southern R. Co., 93 F.2d 377, 1937 U.S.

App. LEXIS 2817 (5th Cir. 1937).

                                                     II.      PRAYER




1
  Proof of service of citation of the State Court Petition is filed in this suit as Document No. 25, and is attached
hereto as Exhibit A.
2
  See Exhibit B, State Court Record.
3
  See Exhibit C, Federal Court Record.


FIRST AMENDED MOTION FOR DEFAULT                                                                               PAGE 2 OF 3
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         WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests the Court to

enter a Default Judgment on all claims herein asserted, decreeing that Defendant is liable to

Plaintiff on all issues and for damages in the amount of $59,226.64; post-judgment interest at 5%

per annum or the statutory rate, whichever is greater; plus all other and further relief to which

Plaintiff may be justly entitled.

DATED this 12th day of January 2021.

                                              Respectfully submitted,

                                              THE LAW OFFICE OF KEITH C. THOMPSON, PC
                                              11003 Quaker Avenue
                                              Lubbock, Texas 79424
                                              Telephone: 806-783-8322
                                              Fax: 806-783-8357
                                              SBN: 24013631
                                              kct@kctlaw.us


                                              /s/ Keith C. Thompson
                                              KEITH C. THOMPSON



                                    CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the above and foregoing document has been

forwarded to WILLIAM BERTHELETTE AT 2473 Lake Road, Ridgeway, SC 29130 Via Certified Mail

on the 12th day of January 2021.


                                              /s/ Keith C. Thompson
                                              Keith C. Thompson




FIRST AMENDED MOTION FOR DEFAULT                                                          PAGE 3 OF 3
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             Exhibit A
Case
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                     Document27
                              25 Filed
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                                                       of13
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                                                            PageID230
                                                                   256
Case
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                     Document27
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                                                            PageID231
                                                                   257
Case
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     5:19-cv-00025-C Document
                     Document27
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                                                            PageID232
                                                                   258
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             Exhibit B
                                       Case 5:19-cv-00025-C Document 27 Filed 01/12/21     Page 9 of 13 PageID 260
         Case #     2018532364                         Case Reference        900266078                                   Case Status   CLOSED
         Plantiff   SIWELL, INC. D/B/A CAPITAL M                                               Defendant       LAND GORILLA, LLC
       File Date    9/25/2018                                                                       Court      D099
 Agency Case #                                                                                    Agency
   Service Date     1/26/2019                                                            Plantiff Attorney     THOMPSON, KEITH C
   Answer Date                                                                      Defense Attorney
   Docket Date                                                                                    Docket
Disposition Date    2/11/2019                                                                 Disposition      NOTICE OF REMOVAL
    Status Date     1/22/2019                                                                      Status      CITATION ISSUED
 Discovery Date     9/25/2018                                                            Discovery Level       DISCOVERY LEVEL 2
Complaint Date                                                                           Original Petition     $0.00
      Civil Code    ACF                                                                      Description       DEBT/CONTRACT - FRAUD/MIS
  Trial End Date
       Case 5:19-cv-00025-C Document 27 Filed 01/12/21         Page 10 of 13 PageID 261



                                      Court Access System                            01/11/2021
                                          Case Events
                                            Case: 2018532364



Sequence Event Date   Court   Description                      Notes
1        09/25/2018   D099    PETITION FILED                   Plaintiff's Original Petition
                                                               PREPAID
2        09/25/2018   D099    DISCOVERY LEVEL 2
3        09/25/2018   D099    REQUEST                          Civil Process Request Form - C
4        09/25/2018   D099    CASE INFORMATION SHEET           Case Information Sheet - CMS v
5        09/26/2018   D099    CITATION ISSUED                  CMRR # 9414814902356190006433
                                                               PREPAID
6        01/22/2019   D099    AMENDED PLEADING                 PLAINTIFF'S FIRST AMENDED PETI
7        01/22/2019   D099    REQUEST                          SERVICE REQUEST
                                                               PREPAID
8        01/22/2019   D099    CITATION ISSUED                  CMRR # 948901490235619025494
                                                               PREPAID
9        01/28/2019   D099    CITATION SERVED                  CM SIGNED FOR
10       02/11/2019   D099    NOTICE OF REMOVAL                Notice of Removal to Federal C
Case 5:19-cv-00025-C Document 27 Filed 01/12/21   Page 11 of 13 PageID 262




              Exhibit C
1/11/2021                                                          District Version 6.3.3-History/Documents Query
               Case 5:19-cv-00025-C Document 27 Filed 01/12/21 Page 12 of 13 PageID 263
                                 5:19-cv-00025-C Siwell Inc v. Berthelette et al
                                         Sam R Cummings, presiding
                                           Date ﬁled: 02/11/2019
                                        Date of last ﬁling: 01/06/2021



                                                                        History
                   Doc.
                                 Dates                                                            Description
                   No.
                    1 Filed & Entered: 02/11/2019                         Notice of Removal
                      2    Filed & Entered:          02/11/2019           Cert. Of Interested Persons/Disclosure Statement
                      3    Filed & Entered:          02/11/2019           Motion to Compel
                           Terminated:               05/01/2019
                      4    Filed & Entered:          02/11/2019           Brief/Memorandum in Support of Motion
                      5    Filed & Entered:          02/12/2019           Cummings (West Texas)
                      6    Filed & Entered: 02/12/2019                    Notice and Instruction to Pro Se Party
                      7    Filed & Entered: 02/13/2019                    Order to Show Cause/Order to Answer
                      8    Filed & Entered: 02/13/2019                    Response/Objection
                      9 Filed & Entered: 02/14/2019                       Order
                     10 Filed & Entered: 02/27/2019                       Amended Complaint
                     11 Filed & Entered: 03/04/2019                       Motion for Attorney Fees
                        Terminated:      05/01/2019
                     12 Filed & Entered: 03/04/2019                       Brief/Memorandum in Support of Motion
                     13 Filed & Entered: 03/06/2019                       Motion for Miscellaneous Relief
                        Terminated:      03/07/2019
                     14 Filed & Entered: 03/07/2019                       Order on Motion for Miscellaneous Relief
                     15 Filed & Entered: 03/22/2019                       Response/Objection
                     16 Filed & Entered:             04/05/2019           Reply
                     17 Filed & Entered:             04/09/2019           Motion for Leave to File
                        Terminated:                  04/10/2019
                     18 Filed & Entered:             04/10/2019           Order on Motion for Leave to File
                     19 Filed & Entered:             04/10/2019           Sur-reply
                     20 Filed & Entered:             05/01/2019           Order of Dismissal or Administrative Closure
                     21 Filed & Entered:             11/19/2020           Motion to Reopen Case
                        Terminated:                  11/23/2020
                     22 Filed & Entered:             11/23/2020           Order on Motion to Reopen Case
                     23 Filed & Entered:             12/04/2020           Motion for Default Judgment
                        Terminated:                  12/28/2020
                     24 Filed & Entered:             12/28/2020           Order on Motion for Default Judgment
                     25 Filed & Entered:             01/06/2021           Afﬁdavit of Service

                                                             PACER Service Center

https://ecf.txnd.uscourts.gov/cgi-bin/HistDocQry.pl?127239676235576-L_1_0-1                                                  1/2
1/11/2021                                                          District Version 6.3.3-History/Documents Query
               Case 5:19-cv-00025-C Document 27 FiledReceipt
                                          Transaction 01/12/21                                         Page 13 of 13 PageID 264
                                                                     01/11/2021 16:22:34
                                      PACER                                           Client           CMS v.
                                                       thompson0387:2801741:0
                                      Login:                                          Code:            Berthalette LG
                                                                                      Search
                                      Description: History/Documents                                   5:19-cv-00025-C
                                                                                      Criteria:
                                      Billable
                                                       1                              Cost:            0.10
                                      Pages:




https://ecf.txnd.uscourts.gov/cgi-bin/HistDocQry.pl?127239676235576-L_1_0-1                                                       2/2
